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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No.

  UNITED STATES OF AMERICA,

                  Plaintiff,

  v.

  $14,200.00 IN UNITED STATES CURRENCY,

             Defendant.
  _____________________________________________________________________

                VERIFIED COMPLAINT FOR FORFEITURE IN REM
  _____________________________________________________________________

         The United States of America (“United States”), by and through United States

  Attorney Jason R. Dunn and Assistant United States Attorney Elizabeth Young,

  pursuant to Supplemental Rules for Admiralty, Maritime and Asset Forfeiture Claims

  G(2), states:

                                 JURISDICTION AND VENUE

         1.       The United States has commenced this action pursuant to the civil

  forfeiture provisions of 21 U.S.C. ' 881, seeking forfeiture of defendant property based

  upon violations of 21 U.S.C. ' 801, et seq. This Court has jurisdiction under 28 U.S.C.

  '' 1345 and 1355.

         2.       Venue is proper under 28 U.S.C. ' 1395 as the defendant property is

  located in the District of Colorado.

                                  DEFENDANT PROPERTY

         3.       Defendant property is more fully described as $14,200.00 in United States

  currency (“defendant $14,200.00 in U.S. currency”), which was seized on July 5, 2019

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  at the United States Postal Inspectors Office located at 1745 Stout Street, Denver,

  Colorado. Defendant $14,200.00 in U.S. currency is currently being held by the United

  States Postal Inspection Service, National Headquarters, Asset Forfeiture Unit Holding

  Account.

                           FACTUAL BASIS FOR FORFEITURE

        Except as otherwise noted, all of the following facts and information have been

  discovered through my own investigation and observations, and the observations and

  investigations of fellow law enforcement officers as reported to me.

  The Parcel Containing Defendant $14,200.00 in U.S. Currency

         4.     On July 2, 2019, Postal Inspectors conducting parcel examinations at the

  United States Postal Service’s Denver Processing and Distribution Center became

  aware of a suspicious parcel. The parcel was a United States Postal Service (“USPS”)

  Priority Express Mail parcel bearing tracking number EE4398083389US (the “Parcel”)

  postmarked on July 1, 2019. The Parcel was addressed to “Jorge Roque, 6895 Larsha

  Drive, Denver, Colorado 80221” with a return address of “Dan Garcia, 986 Payne

  Avenue, St. Paul, Minnesota 55106.” The Parcel weighed approximately seven

  pounds and seven ounces. The postage due was $115.25 and was paid with cash.

  The Parcel had a hand written label. In addition, the sender mailed the Parcel from a

  zip code different from the return address listed on the mailing label.

         5.     On July 2, 2019, Postal Inspectors had the Parcel examined by the

  Denver Police Department’s narcotics detection canine and the canine alerted to the

  presence of illegal narcotics.

         6.     On July 3, 2019, Luis Roque arrived at the United States Post Office



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  located on North Pecos Street and inquired about the Parcel but was given no

  information about the Parcel. Postal Inspectors later contacted Luis Roque by

  telephone. Luis Roque told Postal Inspectors that the Parcel was addressed to an

  unknown friend of his father’s at 6895 Larsh Drive, Westminster, Colorado. Luis Roque

  said the Parcel had been mailed two days prior, but did not know the return address,

  and said the Parcel contained two pairs of shoes for his nephew.

        7.     On July 5, 2019, Postal Inspectors executed a federal search warrant on

  the Parcel and it was found to contain two shoe boxes, each containing a pair of men’s

  shoes. Inside each of the shoes was a heat-sealed vacuum bag that contained a

  portion of defendant $14,200.00 in U.S. currency. There were no notes, letters, or

  other correspondence found inside the Parcel.

        8.     On the same day, Postal Inspectors again spoke to Luis Roque by

  telephone. Luis Roque said that the Parcel had been mailed from Minnesota, but again

  could not tell them the exact return address. Postal Inspectors also received a call

  from Jorge Roque, who said he was inquiring about the Parcel. Jorge Roque provided

  the correct tracking number, but did not know the return address. Jorge Roque knew

  only that the Parcel had been sent from Minnesota and that it contained shoes.

        9.     Postal Inspectors later learned that on July 3, 2019, Dan Garcia contacted

  the USPS to inquire about the Parcel. Dan Garcia stated that he was calling for his

  uncle who was the sender of the Parcel. Notably, Dan Garcia was the name listed as

  the sender of the Parcel. Further, the return address of 986 Payne Avenue, St. Paul

  Minnesota, is not a real address.




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  The June 25, 2019 Parcel

         10.     Further investigation revealed that on June 25, 2019 (six days before the

  Parcel was mailed) another USPS Priority Mail parcel was mailed from 986 Payne

  Avenue, Saint Paul, Minnesota and delivered to 6895 Larsh Drive, Denver, Colorado on

  June 26, 2019. This parcel weighed approximately eight pounds and seven ounces.

  Jorge Roque Telephone Calls

         11.     Pursuant to warrants, law enforcement officers intercepted certain

  telephone calls in December 2019 between Jorge Roque and others.

         12.     On December 9, 2019, Jorge Roque spoke to an individual identified as

  Gonzalez regarding a paper that Jorge Roque sent to Gonzalez. Gonzalez said that he

  thought Jorge Roque sent the paper to him to see what name Gonzalez had “put on

  there.” Gonzalez explained that the paper said that the money had been flagged. The

  parties ended the call so that Gonzalez could read the paper and call Jorge Roque back

  to further discuss it.

         13.     A few minutes later, Gonzalez called Jorge Roque back to discuss the

  paper. During the conversation Roque mentioned that the paper related to the $14,200

  they wanted to recover. According to Gonzalez, the paper Jorge Rogue sent him

  required Roque to provide an ID number if he wanted to inquire about the money.

  Gonzalez said he didn’t want Jorge Roque to get in trouble and thought maybe Jorge

  Roque should consult a lawyer. On this telephone call they also discussed the amount

  of money. They both thought it was supposed to be $15,000 and were wondering if the

  money has been miscounted since the paper only mentioned $14,200.

         14.     On December 14, 2019, Jorge Roque spoke to an individual identified as



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  Adrian about a letter Roque received related to some money that he lost in the mail,

  specifically $14,200 that was “seized.” Jorge Roque and Adrian discussed money that

  was supposed to be inside sneakers in a shoe box. Jorge Roque asked Adrian if law

  enforcement “would look deep into it.” Adrian said that he did not think so, but that

  Roque would need to come up with an “alibi.”

         15.    Adrian and Roque discussed Roque giving the story that he had sold

  someone a car as an explanation for the money. Jorge Roque described the letter he

  received regarding the package and noted that it provided a case number. Roque stated

  that it seemed like there was a “case.” Adrian agreed but suggested that it wasn’t that

  much money and that Jorge Roque would get the money back as long as he had a

  good story. Adrian suggested Roque go with the story of having sold a car to his friend

  named Gonzalez. Roque responded that the problem was that he didn’t even remember

  whose name the package was under.

  Jorge Roque Criminal Charges

         16.    On January 23, 2020, Jorge Roque was charged in Arapahoe County,

  Colorado, with unlawful distribution, manufacturing, dispensing, or sale of more than

  225 grams of a controlled substance and possession of a deadly weapon during the

  course of committing a felony offense.

  Conclusion

         17.    Based on the facts and circumstances described above, evidence shows

  that defendant $14,200.00 in U.S. currency is forfeitable as proceeds traceable to an

  exchange of a controlled substance.




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                                    FIRST CLAIM FOR RELIEF

         18.    The Plaintiff repeats and incorporates by reference the paragraphs above.

         19.   By the foregoing and other acts, defendant $14,200.00 in U.S. currency

  constitutes money furnished or intended to be furnished by any person in exchange for a

  controlled substance, proceeds traceable to an exchange of a controlled substance, and

  money used or intended to be used to facilitate a violation of 21 U.S.C. § 801, et seq.

  Therefore, defendant $14,200.00 in U.S. currency is forfeitable to the United States

  pursuant to 21 U.S.C. § 881(a)(6).

         WHEREFORE, the United States prays for entry of a final order of forfeiture for the

  defendant property in favor of the United States, that the United States be authorized to

  dispose of the defendant property in accordance with law, and that the Court enter a

  finding of probable cause for the seizure of the defendant property and issue a Certificate

  of Reasonable Cause pursuant to 28 U.S.C. ' 2465.

         DATED this 26th day of February 2020.

                                                   Respectfully submitted,

                                                   JASON R. DUNN
                                                   United States Attorney

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